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Exhibit D
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NATIONAL SECURITY AGENCY
FORT GEORGE G. MEADE, MARYLAND 20755-6000

FOIA Case: 106371A
19 April 2021

MICHELLE KINNUCAN

Dear Michelle Kinnucan:

This letter responds to your Freedom of Information Act (FOIA) request submitted on 18
February 2019, and amended on 6 March 2019, requesting “both volumes I and II of ‘A Report to the
Committee on Appropriations — U.S. House of Representatives on the Effectiveness of the Worldwide
Communications Systems of the DoD, U.S.S. Liberty Incident.” A copy of your amended request is
enclosed.

The documents you have requested are not agency records subject to the FOIA, as the records in
question were both created by and are controlled by the U.S. House of Representatives. Therefore, the
FOIA does not mandate their release and the Agency is not authorized to process the documents without
the approval of the U.S. House of Representatives.

As a courtesy, the Agency contacted the applicable committee of the U.S. House of
Representatives in November 2020 about the documents in question, but has not received a response.
Absent Congressional approval, the Agency is not authorized to process the documents under the FOIA.
Therefore, your request has been denied.

Sincerely,

\ “
ee

RONALD MAPP
Chief FOIA/PA Office

Encl:
a/s
